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                                   UNITED STATES DISTRICT COURT
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                            FOR THE EASTERN DISTRICT OF CALIFORNIA
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7    UNITED STATES OF AMERICA,                                Case No. 1:18-cr-00252-LJO-SKO
8                             Plaintiff,                       ORDER GIVING NOTICE TO ALL
                                                               PARTIES AND TO ALL COUNSEL
9                      v.                                      OF A LONG TERM SCHEDULING
                                                                      CONFERENCE
10 DIBLAIM ALAN VALDEZ-ARAUX, ERICK
   LIZARRAGA, PERLA RAMOS, BRITTANY
11 MARTINEZ, ROSEMARIE MARTINEZ,
   DAVID MARTINEZ, JESUS BUENO, NOYRA
12 GONZALEZ BRAMASCO, and MARICELA
   CASTELLANOS,
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                              Defendants.
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                 ORDER GIVING NOTICE TO ALL PARTIES AND TO ALL COUNSEL
16                 OF A LONG TERM SCHEDULING CONFERENCE TO BE HELD
                     ON FEBRUARY 11, 2019, AT 9:30 A.M. IN COURTROOM 4
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            A long-term scheduling conference is set for February 11, 2019, at 9:30 a.m. in Courtroom 4
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     before the undersigned. At all hearings/conferences in this case, all defendants will be required to
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     attend. The only exception will be if, at least ten days before any hearing, a signed (by the defendant
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     and the counsel) waiver of appearance is filed.
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            At the February 11 conference, counsel are to be ready to select dates for this case, including
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     dates for discovery production, motions of any kind to be filed, the dates that all motions are to be
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     heard, plea offers to be provided by the Government, plea offers to expire, pretrial conference, and trial.
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     ONCE SET, THESE DATES WILL BE FIRM AND WILL NOT BE CHANGED.                                     A serious
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1    discussion about dates before the February 11 conference among counsel is strongly suggested.

2           This case will not be unreasonably delayed due to concerns about vacations or seminars. There

3    are too many people involved to be able to accommodate those concerns. If counsel either cannot agree

4    to dates, or an agreed-upon trial date is suggested too far out into the future, the Court will set the trial

5    date itself. Should any counsel have other counsel appear for them on February 11, this does not

6    relieve any party from the meet and confer suggestion pre-conference, nor does it provide a valid

7    excuse for not having that appearing counsel possess counsel’s trial availability. If any particular

8    counsel is unavailable for trial within a reasonable amount of time that coincides with all other

9    counsels’ schedules, the Court will order that new counsel be appointment for replacement purposes at

10 this early stage of the case.

11 IT IS SO ORDERED.

12      Dated:     January 7, 2019                             /s/ Lawrence J. O’Neill _____
                                                    UNITED STATES CHIEF DISTRICT JUDGE
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